Case 1:20-cv-00189-JSR Document 100-38 Filed 10/16/20 Page 1 of 5




                   EXHIBIT 39
          Case 1:20-cv-00189-JSR Document 100-38 Filed 10/16/20 Page 2 of 5
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c19) United States
c12) Reissued Patent                                                    (10)    Patent Number:           US RE41,189 E
       Li et al.                                                        (45)    Date of Reissued Patent:    *Apr. 6, 2010

(54)    METHOD OF MAKING ENHANCED CVD                                                   3,745,623    A * 7/1973           Wentorfet al ...... ....... .. 407/119
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(75)    Inventors: Wei Li, Ann Arbor, MI (US); Russell J.                               4,124,690    A * 11/1978          Strong et al . .............. .. 423/446
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                   Ho-kwang Mao, Washington, DC (US);
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                   Chih-shiue Yan, Washington, DC (US)                                  6,692,714    B2 * 2/2004          Vagarali et al. .. ... ..... ... 423/264
(73)    Assignee: Carnegie Institution of Washington,                                           FOREIGN PATENT DOCUMENTS
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( *)    Notice:        This patent is subject to a terminal dis-                 EP               0 616 954           *  8/1994
                       claimer.                                                  EP                 061 6954             8/1994
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(21)    Appl. No. : 12/362,529                                                   EP                 0671482           * 9/1995
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(22)    Filed:         .Jan. 30, 2009                                            WO           WO 04/022821            * 3/2004
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(51)    Int. Cl.
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        C23C 16/27                 (2006.01)
                                                                                 from CVD Diamond Review-Endeavor Magazine, Apr. 29,
                                                                                 2002.*
(52)    U.S. Cl. ......... ........... 117/88; 427/249.7; 427/249.8;
                         427/370; 427/372.2; 427/444; 427/902                    * cited by examiner
(58)    Field of Classification Search ............... 427/249.7,
                                                                                Primary Examiner-Timothy H Meeks
                       427/249.8, 370, 372.2, 444, 902; 117/88                  Assistant Examiner-Elizabeth Burkhart
        See application file for complete search history.
                                                                                (74) Attorney, Agent, or Firm-Morgan Lewis & Bockius
                                                                                LLP
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                                                                                 (57)                          ABSTRACT
                    U.S. PATENT DOCUMENTS
                                                                                 Single crystal CVD diamond is heated to temperatures of
       3,083 ,080   A * 3/1 963 Bovenkerk ... ........ .. ..... 423/446
       3,134,738    A * 5/1964 Wood eta!. ........... ...... 510/280             1500° C. to 2900° C. under a pressure that prevents signifi-
       3,141,748    A * 7/1964 Hoke et al. .. ......... ........ . 95/99         cant graphitization. The result is a CVD diamond w ith
       3,297,407    A * 1/1967 Wentor, Jr. .. ... ...... ... .... 423/446        improved optical properties.
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   Case 1:20-cv-00189-JSR Document 100-38 Filed 10/16/20 Page 3 of 5


U.S. Patent                        Apr. 6, 2010         US RE41,189 E




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        Case 1:20-cv-00189-JSR Document 100-38 Filed 10/16/20 Page 4 of 5


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      METHOD OF MAKING ENHANCED CVD                                    achieved the first time, the sample may be re-treated at
                 DIAMOND                                               HPHT until such time that the desired improvement in char-
                                                                       acteristics or properties is achieved.
   Matter enclosed in heavy brackets [ ] appears in the                  The greatest improvements will be noted for single crystal
original patent but forms no part of this reissue specifica-      5    CVD diamond that is void of defects, such as surface pits,
tion; matter printed in italics indicates the additions                microscopic inclusions, and that is at least partially translu-
made by reissue.                                                       cent. Such CVD material may be so improved as to even be
                                                                       polished and faceted to produce a gem quality diamond to be
                      BACKGROUND                                       used in jewelry.
   This invention relates to a method of improving the            10
                                                                              BRIEF DESCRIPTION OF THE DRAWING
optical, electrical, thermal, and mechanical properties of
chemical vapor deposition (CVD) diamond. CVl) diamond                    The various features, advantages and other uses of the
can be classified as either single crystal or polycrystalline.         present invention will be come more apparent by referring to
Either type can be manufactured to produce materials that              the following detailed description and drawing in which:
range from opaque to fully transparent. Typical impurities        15     FIG. 1 is a cross sectional view of the inner portion of a
within CVD diamond are graphite and hydrogen, although                 high pressure cell used to treat CVD diamond according to
trace amounts of other materials may be present, such as               the present invention.
nitrogen. In addition to impurities, there are structural                              DETAILED DESCRIPTION
defects which occur that further degrade the material and its
                                                                          The present invention is a process to heat treat single crys-
properties as compared to a defect free natural diamond. As       20
                                                                       tal CVD diamond at high temperature and high pressure. It is
a result, CVD diamond is often opaque or very dark
                                                                       not certain what happens to the CVD material when it is
   Most industrial applications for diamond require high               subjected to such conditions. Possibly, internal atoms shift
quality crystals or films. Common applications include                 position to more correctly align themselves to the diamond
lenses that require high optical transmission of light, heat           crystalline structure or perhaps the bonding mechanism
sinks that require very high heat conductivity, and electrical    25
                                                                       shifts such that SP2 type bonds become SP 3 type bonds caus-
insulators. Prior work to improve these materials by high              ing carbon atoms to change trom impurity status to becom-
temperature treatment has shown that heating above 850° C.             ing part of the diamond crystal lattice.
significantly degrades the sample. In fact, temperatures
                                                                          Whatever the mechanism, it has been found that treating
above 1600° C. have totally destroyed sample integrity due
                                                                  30   CVD diamond at high pressure and high temperature
to formation of cracks thought to be the result of loss of
                                                                       (HPHT) causes the optical properties to change so much that
bonded hydrogen or conversion of the diamond carbon to
                                                                       opaque material become clear. This same mechanism also
graphite.
                                                                       improves the thermal conductivity and the electrical resis-
   Natural or synthetic diamond, on the other hand, can with-          tance for the CVD diamond. This is very unexpected since
stand treatment to very high temperatures. In fact, it has been        prior work has shown just the opposite occurs when CVD
                                                                  35
shown that annealing of synthetic and natural type I or type           diamond is annealed in a vacuum to 1600° C. (A. V.
II diamonds in the range of 1900° C. to 2600° C. at pressures          Khomich et al., Diam. Relat. Mater. 10 (2001) , pp.
in the range of 50 to 80 kbars causes the visible color of the         546-551 ), Heating CVD diamond in vacuum has caused dia-
diamond to change. In the case of natural diamond type I, the          mond to darken at temperatures as low as 850° C. (S. Mitra,
color changes from brown to yellow or yellow-green. For                K. I. Gleason, Diam. Relat. Mater. 2 (1993) p. 126).
                                                                  40
type II natural diamond, the color changes from brown to                  Thus, one would expect that when diamond is heated to
colorless or, on rare occasions, blue or pink. Synthetic dia-          temperatures above 850° C., at pressures where graphite is
mond will change from yellow to lighter yellow.                        the stable phase, significant degradation of the sample would
   It would be advantageous if a method were devised that              result. However, very unexpected behavior occurs in CVD
would significantly improve the properties of CVD diamond              diamond at high temperatures where the pressure is raised
                                                                  45
after it is grown. It would also be desirable to form CVD              above atmospheric pressure but still remains within the
diamond with fewer defects that serve to degrade the intrin-           graphite stable region. Under certain conditions of tempera-
sic properties of a perfect crystalline diamond material in            ture and pressure, CVD diamond does not degrade; instead
order to enhance its usage in many applications.                       the opposite occurs: the sample is transformed into a more
                        SUMMARY                                   50   perfect diamond crystalline material
                                                                          FIG. 1 shows a cross section of the inner portion of an
   According to the present invention, there is provided a             assembly that may be employed to treat CVD diamond 1
method of improving the optical properties of CVD                      according to the present invention. The outer body 2 is cylin-
diamond, which includes the steps of:                                  drical in shape and is designed to fit within a central cavity of
   1. creating a reaction mass by placing the CVD diamond         55   an ultrahigh pressure and ultrahigh temperature cell, such as
in a pressure transmitting medium that completely encloses             that described in U .S. Pat. Nos. 3,745,623 or 3,913,280.
the diamond; and                                                          The outer body 2 is composed of graphite or other mate-
   2. subjecting the reaction mass to a temperature of at least        rial that will readily transmit pressure and remain stable and
1500° C. and, preferably, in the range of about 1800° C. to            non-reactive to the CVD diamond 1 at high temperature and
about 2900° C. under a pressure of at least 4.0 GPA.              60   high pressure. Other materials t,x the outer body 2 include,
   The period of time during which the sample is subjected             but are not limited to, salt, MgO, or talc. The CVD diamond
to HPHT conditions is from less than about one minute to               1 is encapsulated in the outer body 2. The CVD sample 1 is a
about 30 minutes. The preferred time is between one to five            stand alone CVD diamond or a CVD coating on diamond or
minutes. The actual conditions can be varied depending on              other materials. This assembly should be consolidated to
the grade and the size of the CVD sample.                         65   greater than 90% of its theoretical density and made to fit
   The reaction mass may be subjected to any number of                 snugly into a HPHT reaction cell, such as that used to manu-
such treatments. Thus, if the desired results were not                 facture PCD.




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        Case 1:20-cv-00189-JSR Document 100-38 Filed 10/16/20 Page 5 of 5


                                                        US RE41,189 E
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   The entire cell is subjected to pressures in excess of 4.0             sample was maintained at these conditions for five minutes,
GPA and heated to temperature in excess of 1500° C. ±ix a                 then the temperature was decreased over a period of about
time of five minutes. Then the cell is allowed to cool enough             one minute to room temperature before the pressure was
so that the CVD diamond does not back-convert to graphite                 released.
after the pressure is released.                                      5       The sample was removed from the reaction mass and
   After pressing, the sample 1 is removed from the graphite              examined under an optical microscope. The opaque CVD
outer body by mechanical means, such as by tapping with a                 diamond layer turned clear and remained firmly bonded to
mallet. The sample can then be further heated in an oven to               the yellow synthetic type Ib diamond.
725° C. for approximately ten minutes in order to obtain a                   What is claimed is:
clean and smooth outer diamond surface. This treatment               10      1. A method to improve the optical clarity of CVD dia-
removes any graphite that may have adhered to the sample.                 mond where the CVD diamond is single crystal CVD
The surface can also be polished in a manner as traditionally             diamond, by raising the CVD diamond to a set temperature
used on natural diamond single crystals or polycrystalline                ofat least 1500° C. and a pressure ofat least 4.0 GPA outside
diamond compacts.                                                         of the diamond stable phase.
                                                                     15      2. The method of claim 1 wherein the CVD diamond is a
                        EXAMPLE#!                                         single crystal coating upon another material.
    A cubed-shaped CVD coated synthetic type Ib diamond,                     3. The method of claim 1 wherein the step of raising the
approximately one centimeter square, was encapsulated in a                temperature of the single crystal CVD diamond further com-
graphite cylinder. Ille CVD portion was a layer on one side               prises the step of:
                                                                     20      raising the single crystal CVD diamond to a set tempera-
of the cube-shaped natural diamond, approximately one mil-
limeter thick and was opaque to optical transmission. The                       ture of about 1800° C. to about 2900° C.
synthetic diamond substrate was light yellow.                                4. The method of claim 1 wherein the step of raising the
    The graphite cylinder was loaded into a HPHT reaction                 temperah1re of the single crystal CVD diamond further com-
vessel that was configured for indirect heating of the reaction           prises the sk'P of:
                                                                     25
mass. Various reaction vessel configurations, which provide                  maintaining the temperahlfe of the single crystal CVD
the indirect or direct heating, are disclosed in the patent                     diamond at the set temperature for less than about one
literature and are also usefol for carrying out the present                     minute.
HPHT process.                                                                5. The method of claim 1 wherein the step of raising the
    Reaction vessels of this type usually of a plurality of inter-        temperature of the single crystal CVD diamond further com-
                                                                     30
fitting cylindrical members and end plugs or discs for con-               prises the step of:
taining a sample in the innennost cylinder. For the indirectly               raising the temperature of the single crystal CVD dia-
heated type of reaction vessel, one of the cylindrical mem-                     mond to at least 1500° C. over a time period of about
bers is made of graphite that is heated by the passage of                       one minute to five minutes.
electric current through the cylinder. For this case, the reac-      35
                                                                             6. The method of claim 1 wherein the step of raising the
tion mass, if composed of graphite, must be electrically insu-            temperature of the single crystal CVD diamond comprises of
lated from the graphite heater tube by an insulating material,            the step of:
such as talc or salt, to prevent passage of electrical current               raising the temperature of the single crystal CVD dia-
through the reaction mass. In the directly heated type of                       mond to about 2200° C. at a presst1re of about 5.0 GPA.
reaction vessel, the insulating sleeve is not required as the        40      7. The method of claim 1 further comprising the step of:
san1ple is heated by simply passing electric current through                 after reaching the set temperature, decreasing the tem-
the reaction mass provided it is composed of an electrically                    perature of the CVD diamond to ambient temperature
conducting material, such as used in this example.                              while maintaining the pressure on the single crystal
    The reaction vessel was placed in a conventional HPHT                       CVD diamond.
apparatus. First, the pressure was increased to 5.0 GPA, and
then the temperature was rapidly brought up to 2200° C. The                                     *   *   * * *




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